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                       Schedule 1
                     Assumed Leases
                                           Case 20-10343-LSS                         Doc 1310-1                    Filed 09/11/20                    Page 2 of 2
Boy Scouts of America                                                                                                                                                      Schedule 1
Unexpired Leases of Nonresidential Real Property



 No. Debtor                                              Property Address             Counterparty                                              Counterparty Address         Cure Amount

  20    Boy Scouts of America       3497 S 9TH ST, Kalamazoo, MI 49009-9568          Michigan Crossroads Council       132 S. Marketplace Blvd., Lansing, MI 48917-7756               $0.00
  29    Boy Scouts of America       4205 E COURT ST STE 300, Burton, MI 48509-1719   Michigan Crossroads Council       132 S. Marketplace Blvd., Lansing, MI 48917-7756               $0.00
  36    Boy Scouts of America       3031 NW 64TH ST, Oklahoma City, OK 73116-3525    Last Frontier Council             3031 N. W. 64th St., Oklahoma City, OK 73116-3257          $8,813.71

        Count = 3
